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                               Nebraska Supreme Court Advance Sheets
                                        307 Nebraska Reports
                                                   STATE v. ARCHER
                                                   Cite as 307 Neb. 330



                                        State of Nebraska, appellant, v.
                                         Deborah S. Archer, appellee.
                                        State of Nebraska, appellant, v.
                                           Cory L. Russell, appellee.
                                                     ___ N.W.2d ___

                                   Filed September 25, 2020.   Nos. S-19-802, S-19-803.

                 1. Judgments: Appeal and Error. When dispositive issues on appeal pre­
                    sent questions of law, an appellate court has an obligation to reach an
                    independent conclusion irrespective of the decision of the court below.
                 2. Criminal Law: Preliminary Hearings: Probable Cause. The purpose
                    of a preliminary hearing is to ascertain whether a crime has been com-
                    mitted and whether there is probable cause to believe the accused com-
                    mitted it.
                 3. Constitutional Law: Criminal Law: Preliminary Hearings. A prelim-
                    inary hearing is not a criminal prosecution or trial within the meaning
                    of the Nebraska Constitution. Nor is it a trial of the person charged in
                    regard to his or her guilt or innocence.
                 4. Criminal Law: Preliminary Hearings: Probable Cause. If after a
                    preliminary hearing the court finds that a crime has been committed and
                    there is probable cause to show that the accused committed it, the effect
                    of the hearing is to hold the accused for trial.

                 Appeals from the District Court for Washington County:
               John E. Samson, Judge. Exceptions overruled.
                 M. Scott Vander Schaaf, Washington County Attorney, for
               appellant.
                 Mallory N. Hughes, of Dornan, Troia, Howard, Breitkreutz
               &amp; Conway, P.C., L.L.O., for appellees.
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         Nebraska Supreme Court Advance Sheets
                  307 Nebraska Reports
                        STATE v. ARCHER
                        Cite as 307 Neb. 330
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

  Heavican, C.J.
                       INTRODUCTION
   The State of Nebraska seeks appellate review of the district
court’s dismissal of charges filed against Deborah S. Archer
and Cory L. Russell. The Nebraska Court of Appeals granted
leave to appeal, and we moved this case to our docket. We
overrule the State’s exceptions.

                         BACKGROUND
   Archer owned DJ’s Vapes, located in Herman, Washington
County, Nebraska. Russell was employed by Archer at DJ’s
Vapes. Archer and Russell were arrested in December 2017, fol-
lowing an investigation by local law enforcement into whether
DJ’s Vapes was engaged in selling illegal drugs. Specifically at
issue on appeal is the sale of products containing cannabidiol,
also known as CBD.
   Archer and Russell were both first charged in Washington
County Court with possession of CBD with the intent to manu-
facture, deliver, or dispense under Neb. Rev. Stat. § 28-416(1)
(Cum. Supp. 2018) and conspiracy under Neb. Rev. Stat.
§ 28-202 (Cum. Supp. 2018). A preliminary hearing was held
in March 2018.
   At the preliminary hearing, a member of law enforcement
testified that he purchased from Archer and Russell items
advertised as containing CBD oil. Following that hearing, the
county court found sufficient probable cause to bind Archer
and Russell over to district court. Accordingly, an information
was filed in the district court charging the same counts.
   Archer and Russell then filed pleas in abatement, and in June
2018, the district court dismissed all of the counts. According
to the State’s application for leave to docket an appeal, an order
explaining the court’s reasoning accompanied its decision. That
reasoning is not part of our record.
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            Nebraska Supreme Court Advance Sheets
                     307 Nebraska Reports
                            STATE v. ARCHER
                            Cite as 307 Neb. 330
   In July 2018, the county attorney refiled the criminal cases
in county court, and a preliminary hearing was held in October.
The laboratory technician who tested the CBD oil at issue
testified that tetrahydrocannabinol, otherwise known as THC,
and CBD had a similar chemical structure. The technician also
indicated, in response to cross-examination, that his testing
revealed no THC in the CBD oil sold by Archer and Russell,
and he further testified that his testing did not reveal whether
the CBD in question was synthetically produced. The county
court dismissed the charges, finding that the county attorney
did not establish probable cause. Apparently no explanation of
reasoning accompanied these dismissals.
   The present charges were filed in November 2018. A pre-
liminary hearing was held in May 2019. A clinical neuropsy-
chologist at the University of Nebraska Medical Center testi-
fied at the preliminary hearing that the pharmacological effects
of THC and CBD were not similar. In addition, the transcripts
of proceedings from the prior cases were offered as exhib-
its. In July, the district court dismissed without prejudice all
charges for failure of sufficient probable cause. No reasoning
was given.
   The State filed an application to docket appeals, tak-
ing exception to the district court’s July 2019 dismissals. 1
The Court of Appeals granted those applications, and the
exception proceedings were consolidated and moved to this
court’s docket.
                 ASSIGNMENT OF ERROR
   The State assigns that the district court erred in dismissing
the charges against Archer and Russell.
               STANDARD OF REVIEW
  [1] When dispositive issues on appeal present questions
of law, an appellate court has an obligation to reach an
1
    See Neb. Rev. Stat. § 29-2315.01 (Cum. Supp. 2018).
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            Nebraska Supreme Court Advance Sheets
                     307 Nebraska Reports
                            STATE v. ARCHER
                            Cite as 307 Neb. 330
independent conclusion irrespective of the decision of the
court below. 2

                         ANALYSIS
   Archer and Russell were charged with possession of CBD
with the intent to manufacture, deliver, or dispense under
§ 28-416(1) and conspiracy under § 28-202. The issue pre-
sented by this appeal is whether the district court erred when,
following a preliminary hearing, it dismissed the charges
against Archer and Russell.

Legal Principles.
   Section 28-202(1) provides:
      A person shall be guilty of criminal conspiracy if, with
      intent to promote or facilitate the commission of a felony:
         (a) He agrees with one or more persons that they or one
      or more of them shall engage in or solicit the conduct or
      shall cause or solicit the result specified by the definition
      of the offense; and
         (b) He or another person with whom he conspired com-
      mits an overt act in pursuance of the conspiracy.
   Section 28-416(1) provides that “[e]xcept as authorized by
the Uniform Controlled Substances Act, it shall be unlawful
for any person knowingly or intentionally: (a) To manufacture,
distribute, deliver, dispense, or possess with intent to manufac-
ture, distribute, deliver, or dispense a controlled substance . .
. .” “Controlled substance” is defined as “a drug, biological,
substance, or immediate precursor in Schedules I through V of
section 28-405.” 3
   Neb. Rev. Stat. § 28-405(c) [Schedule I] (Cum. Supp. 2018)
of the Uniform Controlled Substances Act lists the following as
prohibited substances:
2
    State v. Rossbach, 264 Neb. 563, 650 N.W.2d 242 (2002).
3
    See Neb. Rev. Stat. § 28-401(4) (Cum. Supp. 2018).
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         Nebraska Supreme Court Advance Sheets
                  307 Nebraska Reports
                        STATE v. ARCHER
                        Cite as 307 Neb. 330
       Any material, compound, mixture, or preparation which
    contains any quantity of the following hallucinogenic
    substances, their salts, isomers, and salts of isomers,
    unless specifically excepted, whenever the existence of
    such salts, isomers, and salts of isomers is possible within
    the specific chemical designation, and, for purposes of
    this subdivision only, isomer shall include the optical,
    position, and geometric isomers:
       ....
       (12) Tetrahydrocannabinols, including, but not limited
    to, synthetic equivalents of the substances contained in
    the plant or in the resinous extractives of cannabis, sp. or
    synthetic substances, derivatives, and their isomers with
    similar chemical structure and pharmacological activity
    ....
       ....
       (25) Any material, compound, mixture, or prepara-
    tion containing any quantity of synthetically produced
    cannabinoids . . . . Since nomenclature of these syntheti-
    cally produced cannabinoids is not internationally stan-
    dardized and may continually evolve, these structures or
    compounds of these structures shall be included under
    this subdivision, regardless of their specific numerical
    designation of atomic positions covered, so long as it can
    be determined through a recognized method of scientific
    testing or analysis that the substance contains properties
    that fit within one or more of the following categories:
       ....
       (M) Any nonnaturally occurring substance, chemical
    compound, mixture, or preparation, not specifically listed
    elsewhere in these schedules and which is not approved
    for human consumption by the federal Food and Drug
    Administration, containing or constituting a cannabinoid
    receptor agonist as defined in section 28-401.
(Emphasis supplied.)
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              Nebraska Supreme Court Advance Sheets
                       307 Nebraska Reports
                         STATE v. ARCHER
                         Cite as 307 Neb. 330
   A preliminary hearing did not exist at common law. 4 A
preliminary hearing is a creature of statute, and its functional
purpose is stated in Neb. Rev. Stat. § 29-506 (Reissue 2016):
         If upon the whole examination, it shall appear that no
      offense has been committed or that there is no probable
      cause for holding the accused to answer for the offense,
      he shall be discharged; but if it shall appear that an
      offense has been committed and there is probable cause
      to believe that the person charged has committed the
      offense, the accused shall be committed to the jail of the
      county in which the same is to be tried, there to remain
      until he is discharged by due course of law . . . .
   [2-4] In short, the purpose of a preliminary hearing is to
ascertain whether a crime has been committed and whether
there is probable cause to believe the accused committed it. 5 Its
purpose is not a criminal prosecution or trial within the mean-
ing of the Nebraska Constitution. 6 Nor is it a trial of the person
charged in regard to his or her guilt or innocence. 7 Rather, if
after a preliminary hearing the court finds that a crime has been
committed and there is probable cause to show that the accused
committed it, the effect of the hearing is to hold the accused
for trial. 8

Did District Court Err?
   In this appeal, the State assigns that the district court erred
in dismissing the charges against Archer and Russell follow-
ing a preliminary hearing. The county attorney requests this
court to provide a legal analysis, reason, and opinion providing
direction of this issue for prosecuting attorneys, and further
4
    Id.5
    Id.6
    Id.7
    Id.8
    See id.                                      - 336 -
             Nebraska Supreme Court Advance Sheets
                      307 Nebraska Reports
                                STATE v. ARCHER
                                Cite as 307 Neb. 330
asserts that sufficient evidence was presented to establish that
probable cause existed.
   As to the merits, the county attorney argues that sufficient
evidence was presented to establish probable cause because
items sold by Archer and Russell contained CBD, which is
listed as a Schedule I substance under the Uniform Controlled
Substances Act. The county attorney takes issue with Archer and
Russell’s expert’s testimony that CBD did not have the same
pharmacological effect as THC, calling it “irrelevant.” 9
   Finally, at oral argument in this case, the county attorney
indicated that because the district court failed to explain why
the charges were lacking in probable cause, the county attorney
was unsure how to proceed. The county attorney further indi-
cated that the Legislature’s passage of 2019 Neb. Laws, L.B.
657, otherwise known as the Nebraska Hemp Farming Act, and
its impact upon such prosecutions, had not been addressed by
this court.
   As noted, the purpose of a preliminary hearing is to ascer-
tain whether a crime has been committed and whether there
is probable cause to believe the accused committed it. While
certainly most preliminary hearings center on questions of fact
related to the alleged crime, the preliminary hearing in this
case was different in that its focus was on whether a crime was
committed at all. As such, a prosecutor was required to show
(1) possession and/or distribution (2) of a controlled substance.
Only the second requirement—whether the CBD oil is a con-
trolled substance—is at issue here.
   In order to determine if a substance is a “controlled sub-
stance,” one must examine the Uniform Controlled Substances
Act. Before the district court, the record shows that both
§ 28-405(c)(12) and § 28-405(c)(25) were at issue.
   We turn first to § 28-405(c)(12), which lists as a con-
trolled substance THC and synthetic equivalents of THC, as
well as any substances “with similar chemical structure and
9
    Brief for appellant at 6.
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             Nebraska Supreme Court Advance Sheets
                      307 Nebraska Reports
                              STATE v. ARCHER
                              Cite as 307 Neb. 330
pharmacological activity” as THC. Archer and Russell con-
cede the CBD in this case had a similar chemical structure
as THC, but they argue that the prosecutor failed to show
the CBD oil had “similar . . . pharmacological activity” to an
illegal substance as set forth in § 28-405(c)(12) and that to the
contrary, Archer and Russell’s expert’s testimony showed that
it did not.
   Our review of the record supports the contention of Archer
and Russell that the CBD oil in question did not contain THC
and did not have the same pharmacological effects as THC.
Therefore, the State failed to establish that the CBD tested in
this matter was a “controlled substance” under the Uniform
Controlled Substances Act.
   We turn next to whether the CBD was a synthetic equivalent
to an illegal substance for purposes of § 28-405(c)(25). At issue
here is whether Archer and Russell possessed or distributed
“[a]ny material, compound, mixture, or preparation containing
any quantity of synthetically produced cannabinoids . . . .” 10
The county attorney has proved there was cannabinoids, or
CBD, in the CBD oil. But the record establishes that the county
attorney failed to show the source of the CBD, i.e., failed to
show that it was “synthetically produced.” As such, the record
presented by the State fails to establish that the CBD in ques-
tion was a prohibited “controlled substance” under the Uniform
Controlled Substances Act.
   We finally turn to the county attorney’s request, not specifi-
cally assigned on appeal, 11 that we provide direction on how to
prosecute cases involving CBD. But these exception proceed-
ings do not involve anything other than the State’s failures of
proof at the preliminary hearing, and do not implicate L.B.
657. We therefore decline the invitation to address the prosecu-
tion of cases involving CBD products in this opinion.
10
     See § 28-405(c)(25).
11
     See, e.g., State v. Lierman, 305 Neb. 289, 940 N.W.2d 529 (2020).
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          Nebraska Supreme Court Advance Sheets
                   307 Nebraska Reports
                         STATE v. ARCHER
                         Cite as 307 Neb. 330
   Finally, we note that there is no requirement in either stat-
ute or case law for a district court to provide explanation for
a decision to dismiss charges following a preliminary hearing,
and thus to the extent the county attorney seeks a finding of
error for the court’s failure to do so, we find none.

                        CONCLUSION
   We find no error in the district court’s dismissal of the infor-
mations filed against Archer and Russell, and thus, we overrule
the State’s exceptions.
                                       Exceptions overruled.
